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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                       JS-6
                                       CIVIL MINUTES - GENERAL
 Case No.       CV 20-2349 PSG (GJSx)                                        Date   May 6, 2020
 Title          Anna Rios v. FCA US LLC et al.




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           The Court GRANTS the motion to remand

       On February 5, 2020, Plaintiff Anna Rios (“Plaintiff”) initiated this action in Los Angeles
County Superior Court, alleging breach of implied and express warranty, among other things.
See Complaint, Dkt. # 1-3 (“Compl.”). On March 11, 2020, the action was removed to this
Court on the basis of diversity of citizenship. See Notice of Removal, Dkt. # 1 (“NOR”).
Plaintiff now moves to remand the action arguing, among other things, that the amount in
controversy requirement is not met and that Defendant Antioch is not a “sham” defendant and
thus that there is not complete diversity of citizenship. See Dkt. # 9 (“Mot.”). Defendants FCA
US, LLC and Antioch Chrysler Jeep Dodge, Inc. d/b/a Antioch Chrysler Jeep Dodge Ram
(“Defendants”) filed a notice of non-opposition to Plaintiff’s motion to remand. See Dkt. # 10.
Accordingly, the Court GRANTS the motion to remand and REMANDS the action to Los
Angeles County Superior Court.

         IT IS SO ORDERED.




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